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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF FLORIDA
                              PENSACOLA DIVISION


UNITED STATES OF AMERICA

v.                                               Case Nos.     3:07cr58/MCR/CJK
                                                               3:11cv467/MCR/CJK
ANTHONY ALEXANDER
BRIDGEWATER
____________________________/

                                        ORDER
       This cause comes on for consideration upon the magistrate judge’s Report and
Recommendation dated April 24, 2014. (Doc. 336). Defendant has been furnished a copy
of the Report and Recommendation and has been afforded an opportunity to file objections
pursuant to Title 28, United States Code, Section 636(b)(1). I have made a de novo
determination of any timely filed objections.
       Having considered the Report and Recommendation, and any objections thereto
timely filed, I have determined that the Report and Recommendation should be adopted.
       Accordingly, it is now ORDERED as follows:
       1.     Defendant’s motion to vacate, set aside, or correct sentence (doc. 305) is
DENIED.
       2.     A certificate of appealability is DENIED.
       DONE AND ORDERED this 2nd day of September, 2014.




                                           s/   M. Casey Rodgers
                                          M. CASEY RODGERS
                                          CHIEF UNITED STATES DISTRICT JUDGE
